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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ------------------------------------------------------------X
  JAMIE WEINBERG,
                                      Plaintiff,                  CV: 15-4765
  v.

  DYNAMIC RECOVERY SOLUTIONS, LLC
  and CASCADE CAPITAL, LLC
                                      Defendants.
  -----------------------------------------------------------X

              VERIFIED COMPLAINT AND DEMAND FOR JURY TRIAL

                                           I. INTRODUCTION

         1. This is an action for declaratory, actual and statutory damages brought by
            Plaintiff, Jamie Weinberg, an individual consumer,(hereinafter the “Plaintiff”)
            against Dynamic Recovery Solutions, LLC (hereinafter the “DRS”) for
            violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq
            (hereinafter “FDCPA”), which prohibits debt collectors from engaging in
            abusive, deceptive, and unfair practices and for attorneys’ fees, litigation
            expenses and costs pursuant to 28 U.S.C. § 2201 and § 2202; both DRS and
            Cascade Capital LLC (hereinafter “Cascade”) for violation of the New York
            Fair Debt Collection Practices Act §601 (8) which prohibits principal creditors
            and their agents (debt collectors) from making a “claim or attempt, or threaten
            to enforce a right with knowledge or reason to know that the right does not
            exist” (hereinafter “NYFDCPA”) General Business Law §349-350 (hereinafter
            “GBL §349-350) against both DRS and Cascade which prohibits deceptive
            acts or practices in the conduct of any business and violation of 23 NYCRR1.3
            against DRS and by extension Cascade for failing to provide plaintiff clear and
            conspicuous notice that the applicable statute of limitations has expired.

                                            II. JURISDICTION

         2. Jurisdiction of this court arises under 15 U.S.C. § 1692(k) and 28 U.S.C. §
            1331. Declaratory relief is available pursuant to 28 U.S.C. § 2201 and § 2202.
            Venue in this District is proper in that the defendant transacts business here and
            the conduct complained of occurred here where the Plaintiff resides.

         3. This court has supplemental jurisdiction to hear all state law claims pursuant to
            §1367 of Title 28 of the U.S.C and such have jurisdiction to rule on violation
            of the New York Fair Debt Collection Practices Act §601, GBL §349-350 and
            23 NYCRR1.3.
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                                        III. PARTIES

       4. Plaintiff, Jamie Weinberg, (hereinafter referred to as “Plaintiff”) is a natural
          person residing in Suffolk, New York; a “consumer” as that term is defined by
          15 U.S.C. §1692a(3); and a person affected by a violation of the FDCPA and
          other claims with standing to bring this claim primarily under 15 U.S.C.
          §§1692.

       5. Defendant DRS is a South Carolina Corporation engaged in the business of
          collecting debt in New York State with its principal place of business at 135
          Interstate Boulevard, #6, Greenville, South Carolina, 29615 and registered
          agent on file with the South Carolina Department of State, at National
          Registered Agents Inc. 2 Office Park Ct., Columbia, South Carolina 29223.
          The principal purpose of the Defendant is the collection of debts in this county
          and state and Defendant regularly attempts to collect debts alleged to be due
          another. Defendant is a “debt collector” as that term is defined by 15 U.S.C.
          §1692a(6).

       6. Defendant is engaged in the collection of debts from consumers using the mail
          and the telephone. Defendant regularly attempts to collect consumer debts
          alleged to be due to another. Defendant is a “debt collector” as defined by the
          FDCPA, 15 U.S.C. § 1692a (6).

       7. Defendant Cascade is the Creditor of record who is in the business of buying
          delinquent debt on the secondary market. Cascade is a principal creditor for
          purposes of the NYFDCPA and GBL §349, and a Debt Buyer for purposes of
          NYCRR ARTICLE 23 §1.3

                             IV. FACTUAL ALLEGATIONS

       8. Plaintiff allegedly owes a debt derived from a purported debt owed to Heritage
          Chase.

       9. Said debt was purportedly purchased by Cascade Capital the alleged holder or
          owner of the debt.

       10. Sometime thereafter, the alleged debt was consigned, placed or otherwise
           transferred to Defendant for collections against and from the Plaintiff.

       11. In or around May 4, 2015, Plaintiff received what purports to be a “dunning”
           letter from DRS with no disclosure that the Statute of Limitations has expired,
           see Exhibit “A”, that she owes $5,501.94 for a financial obligation that was
           primarily for personal, family or household purposes and is therefore a “debt”
           (hereinafter referred to as “debt”) as that term is defined by 15 U.S.C.
           §1692a(5).
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       12. In or around May 11, 2015, Plaintiff received a settlement offer after her phone
           conversation which was prompted by the letter of May 4, 2015, see Exhibit
           “B”, that she should settle for $1,650.58 for the aforementioned debt with no
           conspicuous notice that the Statute of Limitations has expired.

       13. Defendant admits and holds themselves out to be a debt collector on their letter.
           See Exhibit “A”.

       14. Plaintiff has had considerable embarrassment, anxiety and fear for herself and
           the financial well-being of her family, amongst other things. See attached
           Exhibit “C”; Plaintiff Affidavit of Merit.

       15. The above-described collection communications made to Plaintiff by
           Defendants, was made in violation of numerous and multiple provisions of the
           FDCPA, including but not limited to 15 U.S.C. §§ 1692 e, 1692 e(2), 1692
           e(3), 1692 e(5), 1692 e(10), 1692 f, 1692 f( (1), 1692 g, 1692 g(a)(1),
           1692g(a)(2), 1692g(a)(3), 1692g(a)(4), 1692g(a)(5); New York General
           Business Law §601 and §§ 349-350-f; and 23 NYCRR §1 1.3; amongst others.


                                        V. SUMMARY

       16. The above-described collection communications made to Plaintiff by
           Defendant and/or Defendant employees, were made in violation of numerous
           and multiple provisions of the FDCPA, NY GBL and New York Codes Rules
           and Regulations, including but not limited to all of the provisions of each cited
           herein.

       17. During their collection communications, Defendant failed to provide Plaintiff
           with the notices required by 15 U.S.C. § 1692e(10), and in violation of
           numerous and multiple provisions of the FDCPA, including but not limited to
           15 U.S.C. §§ 1692 e (10); New York General Business Law §601 and §§ 349-
           350-f; and 23 NYCRR §1 1.3.

       18. Additionally, due to Defendant’s failure to inform Plaintiff that due to the age of
           the debt the creditor had sat on its rights such that the debt was beyond the New
           York Statute of limitations, Defendant engaged in deceptive acts such that
           Plaintiff’s debt could have been re-aged making Plaintiff liable for debt that is
           uncollectable.

       19. Plaintiff has suffered actual damages as a result of these illegal collection
           communications by these Defendants in the form of anger, anxiety, emotional
           distress, embarrassment and frustration, amongst other negative emotions and
           actual damages for attorney fees for a debt that cannot be collected upon because
           it is barred by the Statute of Limitations.
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       20. This deceptive form and manner of this collection letter and subsequent
           communication without proper disclosures in a conspicuous or otherwise
           manner by the debt collector that the debt was barred by the statute of limitations
           and that any voluntary payment made would re-age the debt such that a judgment
           could then be obtained was a clear violation of FDCPA 15 U.S.C. 1692e (10),
           GBL §349 and the 23 NYCRR §1 1.3.

       21. Additionally, pursuant to GBL §601 (8), GBL §349 and 23 NYCRR S1.3,
           Defendant Cascade is also liable for actual damages, punitive damages, and
           reasonable attorney fees.

       22. In the “Dunning” letter (see Exhibit “A”) and the settlement letter (see
           Exhibit “B”) there contains no mention that the alleged debt that the principal
           creditor (Cascade) and the debt collector (DRS) are attempting to collect are
           barred by the Statute of Limitations in New York in a conspicuous and easily
           identifiable place, or otherwise, pursuant to 15 U.S.C. 1692e (10).

       23. Plaintiff last made payment on the alleged debt in 2007 which means that the
           Statute of Limitations for the alleged debt had expired as of 2013 nearly two
           years prior to the collection attempts made by the principal creditor and the
           debt collector.

       24. Further, in a telephone communication that prompted the letter as marked
           exhibit “B”, the same debt collector failed to disclose that the debt in question
           was time barred by the statute of limitations and that no action could be taken
           against plaintiff to enforce collection.

       25. The debt collector was aggressive and attempted to harass and otherwise
           embarrass plaintiff to make a payment on a debt which was barred by the
           statute of limitations.

       26. Plaintiff has suffered actual damages in attorney fees to defend herself against
           the principal creditor’s and the debt collector’s deceptive practices as well as
           suffering non-pecuniary damages, such as fear, embarrassment, harassment and
           stress due to defendants prohibited and deceptive acts.


                           FIRST CLAIM FOR RELEIF
      VI. FAIR DEBT PRACTICES ACT (FDCPA) VIOLATIONS AGAINST DRS
                                    ONLY

       27. Plaintiff repeats and re-alleges and incorporates by reference to the foregoing
           paragraphs as though fully stated herein.
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       28. Defendants violated numerous provisions of the FDCPA. Defendant’s willful
           violations include but are not limited to the following:

         (a) §1692 e: Defendants letter was false, deceptive and misleading because this
             debt was in fact stale and proper warning was never given that if Plaintiff
             were to voluntarily pay the debt that the statute of limitations date would be
             renewed; debt collector deceptively claims that a settlement offer will be
             withdraw if the plaintiff does not take the offered “settlement” it would be
             withdraw and further used the same or similar tactics in a telephone
             communication when they are barred.

         (b) The letter was intended to instill fear that if the settlement was not accepted,
             the full amount of the debt would be owed.

         (c) §1692 e(2): DRS’s letter misrepresents the amount of the debt as it does
             NOT disclose in a conspicuous location or otherwise, that the legal status is
             not collectable as barred by the Statute of Limitations.

         (d) §1692 e(10): Defendant intentionally deceived Plaintiff into believing they
             could still “collect” on the debt although are barred from doing so by the
             Statute of Limitations.

         (e) §1692 f: Defendant’s acts and omissions were an unfair and unconscionable
             means to attempt to collect this alleged debt and intentionally created
             emotional distress to instill fear; to force payment immediately by omitting
             proper disclosures; and to misrepresent that this debt is even “collectable”.

       29. As a result of each of DRS’s violations of the FDCPA, Defendant is liable to
           the Plaintiff for declaratory judgment that Defendant’s conduct violated the
           FDCPA; actual damages pursuant to 15 U.S.C. §1692 k(a)(1); statutory
           damages in an amount up to $1,000.00 from Defendant DRS pursuant to 15
           U.S.C. §1692k(a)(2)(A); and reasonable attorney fees and costs from
           Defendant DRS pursuant to 15 U.S.C. §1692k(a)(3).


                       SECOND CLAIM FOR RELIEF
        VII.   NEW YORK FAIR DEBT COLLECTION PRACTICES ACT AS
                         AGAINST BOTH DEFENDANTS

       30. Plaintiff repeats and re-alleges and incorporates by reference to the foregoing
           paragraphs as though fully stated herein.

       31. The Plaintiff is a "consumer" as that term is defined in the New York Fair Debt
           Collection Practices Act § 600 of New York.
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       32. The Plaintiff’s relationship with the Defendants arose out of a "consumer debt"
           as that term in the New York Fair Debt Collection Practices Act § 600 of New
           York.

       33. The Defendants were and are "debt collectors" and/or Principal Creditors as
          that term is defined by applicable provisions of the New York Fair Debt
          Collection Practices Act§ 600.

       34. Under the New York Fair Debt Collection Practices Act §601 the Defendant
           Cascade and it agent DRS were and are prohibited from engaging in any
           conduct the natural consequences of which is to oppress, harass or abuse any
           person. All of the FDCPA violations are realleged and incorporated herein by
           this reference and taken together constitute the conduct prohibited by this
           section. The improper notice has the harassing and oppressive effect and that
           the debt which is uncollectable and barred by the statute of limitations may not
           be. The Defendants used this to their advantage as a method of collection
           through and in a manner to force payment out of fear and intimidation in a
           clear effort to oppress the consumer and for their own financial gains. Plaintiff
           has suffered both pecuniary and non-pecuniary actual damages in the form of
           attorney fees and stress, embarrassment, fear, anxiety and harassment.

       35. As a result, the Defendants are liable under New York Fair Debt Collection
           Practices Act § 602 violations and penalties.

            A. Except as otherwise provided by law, any person who shall violate the
           terms of this article shall be guilty of a misdemeanor and/or felony, and each
           such violation shall be deemed a separate offense.

            B. The attorney general or the district attorney of any county may bring an
           action in the name of the people of the state to restrain or prevent any violation
           of this article or any continuance of any such violation.

                        THIRD CLAIM FOR RELIEF
          VIII. GENERAL BUSINESS LAW §349 AS AND AGAINST BOTH
                                DEFENDANTS

     36. Plaintiff repeats and re-alleges and incorporates by reference to the foregoing
        paragraphs as though fully stated herein.

     37. The Plaintiff is a "consumer" as that term is defined in the GENERAL
         BUSINESS LAW § 349 of New York.


     38. The Plaintiff’s relationship with the Defendants arose out of a "consumer debt" as
         that term in the General Business Law (hereinafter “GBL”) § 349 of New York.
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     39. The Defendants, Cascade and DRS were and are respectively a “principal
        creditor” and "debt collectors" as that term is defined by applicable provisions of
        the GBL§ 349.

     40. Under the GBL §349 the Defendant was and is prohibited from engaging in any
         deceptive behavior and to commit such deceptive act for pecuniary gain. All of
         the FDCPA and NYFDCPA violations are re-alleged and incorporated herein by
         reference and taken together constitute the conduct prohibited by this section.
         The improper and deceptive behavior, letter and telephone communication
         deceptively attempted to cause Plaintiff to re-age a debt for which the creditor has
         no recourse due to the expiration of the Statute of Limitations which is a material
         misrepresentation by omission; that an attorney can sue them; and that the debt
         that she thought was barred by the New York State Statute of limitations may not
         be. The Defendants use this to their advantage as a method of collection through
         and in a manner to force payment out of fear and intimidation in a clear effort to
         oppress the consumer and for their own financial gains.

     41. Plaintiff has suffered both pecuniary and non-pecuniary actual damages in the
         form of attorney fees and stress, embarrassment, fear, anxiety and harassment.

     42. As a result, the Defendant is liable under GBL § 349 violations and penalties.

                       FOURTH CLAIM FOR RELIEF
     IX. NYCRR ARTICLE 23 §1.3 AS AND AGAINST BOTH DEFENDANTS

     43. Plaintiff repeats and re-alleges and incorporates by reference to the foregoing
         paragraphs as though fully stated herein.

     44. The Plaintiff is a "consumer" as that term is defined in the 23 NYCRR § 1.1 (c).

     45. The Plaintiff’s relationship with the Defendants arose out of a "debt" as that term
         is defined in 23 NYCRR §1.1 (d) of New York.

     46. The Defendants, Cascade and DRS were and are respectively a “debt buyer” and
        "debt collectors" as that term is defined by applicable provisions of the 23
        NYCRR §1.1 (e).

     47. Pursuant to 23 NYCRR § 1.3 the Defendants were and are prohibited from failing
         to conspicuously disclose that the alleged debt owed is barred by the applicable
         Statute of Limitations. All of the FDCPA and NYFDCPA violations are re-
         alleged and incorporated herein by reference and taken together constitute the
         conduct prohibited by this section. The improper and deceptive behavior, letter
         and telephone communication deceptively attempted to cause Plaintiff to re-age a
         debt for which the creditor has no recourse due to the expiration of the Statute of
         Limitations which is a material misrepresentation by omission; that an attorney
         can sue them; and that the debt that she thought was barred by the New York
         State Statute of limitations may not be. The Defendants use this to their advantage
         as a method of collection through and in a manner to force payment out of fear
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         and intimidation in a clear effort to oppress the consumer and for their own
         financial gains in direct violation of 23 NYCRR 1.3 which specifically requires
         debt buyers and or debt collectors to disclose same.

     48. Defendants never conspicuously disclosed to plaintiff that the debt sought to be
         collected was barred by the statute of limitations.

                                     TRIAL BY JURY

     49. Plaintiff is entitled to and hereby respectfully demands a trial by jury. US Const.
         amend. 7. Fed. R. Civ. Pro. 38.

     WHEREFORE, Plaintiff respectfully requests that judgment be entered against the
     Defendant for the following:

         A. Declaratory judgment that Defendant’s conduct violated the FDCPA;

         B. Actual damages pursuant to 15 U.S.C. §1692k(a)(1) against each Defendant;

         C. Statutory damages of $1,000 pursuant to 15 U.S.C § 1692k(a)(1) against each
            Defendant;

         D. Statutory damages of $50.00 actual damages and punitive damages pursuant
            to New York General Business Law §601.

         E. Actual and punitive damages pursuant to GBL §349-50.

         F. Actual and punitive damages pursuant to 23 NYCRR §1.3.

         G. Punitive damages;

         H. Reasonable attorney fees and costs pursuant to 15 U.S.C. § 1692k(a)(3)
            against each Defendant; and

         I. For such other and further relief as the Court may deem just and proper.

  Dated this 14th day of August, 2015.

  Respectfully submitted,
  /s/ Darren Aronow_______________
  Darren Aronow, Esq.
  Attorney for Plaintiff
  The Law Office of Darren Aronow, PC
  8B Commercial Street, Suite 1
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              VERIFICATION OF COMPLAINT AND CERTIFICATION

  STATE OF NEW YORK                       )
                                          ) ss
  COUNTY OF NASSAU                        )

  Pursuant to 28 U.S.C. § 1746, Plaintiff, Jamie Weinberg, having first been duly sworn and
  upon oath, verifies, certifies, and declares as follows:

  1. I am a Plaintiff in this civil proceeding.
  2. I have read the above-entitled Civil Complaint prepared by my attorney and I believe
     that all of the facts contained in it are true, to the best of my knowledge, information and
     belief formed after reasonable inquiry.
  3. I believe that this Civil Complaint is well grounded in fact and warranted by existing
     law or by a good faith argument for the extension, modification, or reversal of existing
     law.
  4. I believe that this Civil Complaint is not interposed for any improper purpose, such as to
     harass any Defendant(s), cause unnecessary delay to any Defendant(s), or create a
     needless increase in the cost of litigation to any Defendant(s), named in the Complaint.
  5. I have filed this Civil Complaint in good faith and solely for the purposes set forth in it.
  6. Each and every exhibit I have provided to my attorneys which has been attached to this
     Complaint is a true and correct copy of the original.
  7. Except for clearly indicated redactions made by my attorneys where appropriate, I have
     not altered, changed, modified, or fabricated these exhibits, except that some of the
     attached exhibits may contain some of my own handwritten notations.

  I declare under penalty of perjury that the foregoing is true and correct.

  Executed on August 14, 2015

  /s/ Jamie Weinberg__________
  Jamie Weinberg


  Sworn and subscribed before me this
  the 14th day of August, 2015.
  /s/ Darren Aronow LIC #01ar6022417
  Notary Public
